                             Case 1:21-cr-00382-PLF      Document 94     Filed 10/24/23 UPDATED
                                                                                          Page 1 10/24/23
                                                                                                 of 15

Government                                         UNITED STATES OF AMERICA
Plaintiff
Defendant
Joint                                                         VS.                            Civil/Criminal No.   21-cr-305 (JEB)
Court                                                Christopher Warnagiris



 EXHIBIT             DESCRIPTION OF EXHIBITS               MARKED       RECEIVED              WITNESS             Notes
 NUMBER                                                    FOR I.D.         IN
                                                                        EVIDENCE
100 Series   General Evidence of the Capitol Grounds
             and the Riot on January 6th

101          J 6 Montage video with Carpenter (15min)


102          Map of Restricted Perimeter


103          Area Closed Signs and Barricades


104          Photo of Capitol with Snow Fencing in
             Forefront and Signs in Background

105          Area Closed Sign and Barricades


106          Map


107          Blueprint - Second Floor of Capitol
             Building


                                                                                                                                    1
                            Case 1:21-cr-00382-PLF         Document 94   Filed 10/24/23   Page 2 of 15   Notes
EXHIBIT              DESCRIPTION OF EXHIBITS                MARKED       RECEIVED              WITNESS
NUMBER                                                       FOR I.D.        IN
                                                                         EVIDENCE
108          Blueprint – House Chamber


109          Three-Dimensional Depiction of Capitol


110          Three-Dimensional Depiction of Capitol
             (Aerial)

111          East Front Time Lapse




200 Series   Secret Service Exhibits


201          HOS Notification – Visit of Vice President
             Michael Pence Mrs. Pence and Charlotte
             Pence to the U.S. Capitol (S-214_House and
             Senate Floors) on Wednesday January 6 (PDF)
202          USSS HOS Notification – Vice President
             Pence 01.06.21 9 (REDACTED) (PDF)

203          USSS-3 – VP Pence departing Senate
             members staircase (public version).mp4

204          USSS-2 – East Side of the Capitol: VP
             vehicles moving



                                                                                                                 2
                            Case 1:21-cr-00382-PLF    Document 94   Filed 10/24/23   Page 3 of 15   Notes
EXHIBIT              DESCRIPTION OF EXHIBITS           MARKED       RECEIVED              WITNESS
NUMBER                                                  FOR I.D.        IN
                                                                    EVIDENCE
205          Radio Communication (14:14:42)


206          Radio Communication (14:20:19)


207          Radio Communication (14:21:49)




300 Series   U.S. Capitol CCTV Footage


301          Rotunda Lobby West


302          Rotunda Lobby East


303          Rotunda North


304          Rotunda South


305          Statuary Hall West


306          Statuary Hall East


307          House of Representatives Hallway North


                                                                                                            3
                            Case 1:21-cr-00382-PLF   Document 94   Filed 10/24/23   Page 4 of 15   Notes
EXHIBIT              DESCRIPTION OF EXHIBITS          MARKED       RECEIVED              WITNESS
NUMBER                                                 FOR I.D.        IN
                                                                   EVIDENCE
308          House of Representatives Hallway East


309          Statuary Hall West


310          Statuary Hall East


311          Rotunda North


312          Rotunda South


313          Rotunda Lobby East


314          Rotunda Lobby West


315          House Floor


316          East Front CCTV




400 Series   Open Source


401          YouTube-YPS News


                                                                                                           4
                         Case 1:21-cr-00382-PLF    Document 94   Filed 10/24/23   Page 5 of 15   Notes
EXHIBIT           DESCRIPTION OF EXHIBITS           MARKED       RECEIVED              WITNESS
NUMBER                                               FOR I.D.        IN
                                                                 EVIDENCE
402       Facebook Video (Sunny.dayz)


403       Facebook Video (Goulashjohnson)


404       Laura USA Capitol Washington Video


405       Nolan Cooke Video


406       Rumble Video 1 (Casper-J6)


407       Rumble Video 2 (Casper-J6)


408       Vinceableworld Video


409       Getty Image (1230455143)-Outside Doors


410       Getty Image (1230455082)-Inside Doors


411       Miguel Lugo Photo


412       Getty Images-Bloomberg 1


413       Getty Images Bloomberg 1230455496


                                                                                                         5
                         Case 1:21-cr-00382-PLF   Document 94   Filed 10/24/23   Page 6 of 15   Notes
EXHIBIT           DESCRIPTION OF EXHIBITS          MARKED       RECEIVED              WITNESS
NUMBER                                              FOR I.D.        IN
                                                                EVIDENCE
414       Getty Images Bloomberg 1230455490


415       Twitter Video (bresresports)


416       RGM News Video


416.1     Clip at Columbus doors


417       Instagram Photo


418       Jayden X Video


419       YouTube-Huey Long


420       Capitol Hill Occupy Video


421       TheSteelTruth Facebook Video


422       Hector Vargas Video 1


423       Rahm III Video


424       Nguyen Tuan Facebook Video


                                                                                                        6
                         Case 1:21-cr-00382-PLF   Document 94   Filed 10/24/23   Page 7 of 15   Notes
EXHIBIT           DESCRIPTION OF EXHIBITS          MARKED       RECEIVED              WITNESS
NUMBER                                              FOR I.D.        IN
                                                                EVIDENCE
425       Hector Vargas Video 2


426       YouTube-FNTV


426.1     FNTV Clip


427       Youtube-Stephen Ignoramus


428       Hector Vargas Video 3


429       Parler Video (uAKQeDMoSL0c)


430       Parler Video (9T1Wgyjt0vKj)


431       Last Rally Photo


432       Members in Gallery


433       VID_20210106_144402027




                                                                                                        7
                             Case 1:21-cr-00382-PLF   Document 94   Filed 10/24/23   Page 8 of 15   Notes
EXHIBIT               DESCRIPTION OF EXHIBITS          MARKED       RECEIVED              WITNESS
NUMBER                                                  FOR I.D.        IN
                                                                    EVIDENCE
500 Series   Body Worn Camera


501          P/O Graves


502          P/o Johnson


503          P/O Lepe


504          P/O Mendoza


505          P/O Yi


506          P/O Lapitsky


507          P/O S.H.




600 Series   Search Warrant/Phone


601          Property Receipt (089B-WF-3368293-
             241_AFO_0000013_1A0000008_0000004)

                                                                                                            8
                         Case 1:21-cr-00382-PLF   Document 94   Filed 10/24/23   Page 9 of 15   Notes
EXHIBIT           DESCRIPTION OF EXHIBITS          MARKED       RECEIVED              WITNESS
NUMBER                                              FOR I.D.        IN
                                                                EVIDENCE
602       Phone Report/Extraction


603
          3E9DBCAD-61D5-4423-9A50-
          5F5C55DD1A35_thumb.jpg
604
          61BCEE62-C5DF-41A1-95CB-
          13E8C794EE32_thumb.jpg
605
          5005_thumb.jpg
606
          FullSizeRender_thumb.jpg
607
          image0_thumb.jpg
608
          IMG_7107_thumb.jpg
609
          IMG_7108_thumb.jpg
610
          IMG_7119_thumb.jpg
611
          IMG_7122_thumb.jpg

612
          IMG_7128_thumb.jpg
613
          IMG_7134_thumb.jpg

                                                                                                        9
                        Case 1:21-cr-00382-PLF     Document 94   Filed 10/24/23   Page 10 of 15   Notes
EXHIBIT           DESCRIPTION OF EXHIBITS            MARKED      RECEIVED              WITNESS
NUMBER                                               FOR I.D.        IN
                                                                 EVIDENCE
614
          IMG_7159_thumb.jpg
615
          IMG_7182_thumb.jpg
616
          IMG_7231_thumb.jpg
617
          IMG_8091_thumb.jpg
618
          IMG_9130_thumb.jpg
619
          IMG_9131_thumb.jpg
620
          IMG_9454_thumb.jpg
621
          IMG_9460_thumb.jpg
622
          IMG_9461_thumb.jpg
623
          IMG_9873_thumb.jpg
624
          624-PhotosSearchSection-at_0_A67915A9-
          78EF-44F4-BB1A-8F7C216F712D _.png
625
          625-PhotosSearchSection-at_0_A594785E-
          B1A0-47F7-BF60-3AF95AA170E8.png

                                                                                                          10
                        Case 1:21-cr-00382-PLF      Document 94   Filed 10/24/23   Page 11 of 15   Notes
EXHIBIT           DESCRIPTION OF EXHIBITS             MARKED      RECEIVED              WITNESS
NUMBER                                                FOR I.D.        IN
                                                                  EVIDENCE
626
          PhotosSearchSection-at_0_FA76F93D-865F-
          4893-8FE9-4E91BF4425A7
627
          627-PhotosSearchSection-at_3_F0835C01-
          7F50-4D21-94CF-FE924EF65058
628
          2d501d9299eb7431e03d02e2695.png
629
          5008b2d7d4c972c26b5353cea8ff.png
630
          c5464ed0c7ed340fb8ecbc9050ffd.png
631
          c8f612bfaaa6caa3541097e1f93e.png
632
          RPReplay_Final1609983434.mov.png

633
          SW Photo-Backpack (DSCN0027.JPG)
634
          SW Photo-Boots (DSCN0030.JPG)
635
          SW Photo-Pants (DSCN0031.JPG)
636
          SW Photo-MAGA Hat (DSCN0037.JPG)
637
          SW Photo-SW Photo Indicator (DSCN0003)

                                                                                                           11
                           Case 1:21-cr-00382-PLF     Document 94   Filed 10/24/23   Page 12 of 15   Notes
EXHIBIT              DESCRIPTION OF EXHIBITS            MARKED      RECEIVED              WITNESS
NUMBER                                                  FOR I.D.        IN
                                                                    EVIDENCE




700 Series   Congressional Exhibits


701          Congressional Video Montage


702          12th Amendment


703          3 USC 15


704          3 USC 16


705          3 USC 17


706          3 USC 18


707          Congressional Resolution


708          Senate Recording Studio Certificate of
             Authenticity

709          House Recording Studio Certificate of
             Authenticity


                                                                                                             12
                           Case 1:21-cr-00382-PLF    Document 94   Filed 10/24/23   Page 13 of 15   Notes
EXHIBIT              DESCRIPTION OF EXHIBITS           MARKED      RECEIVED              WITNESS
NUMBER                                                 FOR I.D.        IN
                                                                   EVIDENCE
710          Congressional Record - Senate


711          Congressional Record - House




800 Series   Safeway


801          DC closure Email


802
             Mid Atlantic Sales Report
803          PA Shipment


804          Safeway Business Record Certification


805          DC-1-DC Register



                                                                                                            13
                       Case 1:21-cr-00382-PLF   Document 94   Filed 10/24/23   Page 14 of 15   Notes
EXHIBIT          DESCRIPTION OF EXHIBITS          MARKED      RECEIVED              WITNESS
NUMBER                                            FOR I.D.        IN
                                                              EVIDENCE
806       DC-2- Curfew Tweet




                                                                                                       14
                Case 1:21-cr-00382-PLF   Document 94   Filed 10/24/23   Page 15 of 15   Notes
EXHIBIT   DESCRIPTION OF EXHIBITS          MARKED      RECEIVED              WITNESS
NUMBER                                     FOR I.D.        IN
                                                       EVIDENCE




                                                                                                15
